 Case 18-17134-ref        Doc 22     Filed 04/22/19 Entered 04/23/19 09:04:57             Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:
YUKO KIMURA KOENIG                                       :     BK. No. 18-17134-ref
A/K/A YUKO KIMURA A/K/A YUKO KOENIG                      :
                     Debtor                              :     Chapter No. 7
                                                         :
U.S. BANK TRUST, N.A., AS TRUSTEE FOR                    :
LSF10 MASTER PARTICIPATION TRUST                         :
                        Movant                           :
                 v.                                      :     11 U.S.C. §362
YUKO KIMURA KOENIG                                       :
A/K/A YUKO KIMURA A/K/A YUKO KOENIG                      :
                 and                                     :
CHRISTINE C. SHUBERT (TRUSTEE)                           :
                        Respondents

                        ORDER MODIFYING §362 AUTOMATIC STAY

    AND NOW, upon Motion of U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF10
MASTER PARTICIPATION TRUST (Movant), it is:



        ORDERED that Relief from the Automatic stay of all proceedings, as provided under 11
U.S.C. §362 is granted with respect to, 1551 SPRUCE ST, NORFOLK, VA 23502(hereinafter the
Premises) (as more fully set forth in the legal description attached to the Mortgage of record granted
against the Premises), as to allow Movant, its successors or assignees, to proceed with its rights under
the terms of said Mortgage.


Date: April 22, 2019
                                           ___________________________________
                                           RICHARD E. FEHLING, BANKRUPTCY JUDGE



 CHRISTINE C. SHUBERT                       YUKO KIMURA KOENIG
 (TRUSTEE)                                  A/K/A YUKO KIMURA A/K/A YUKO KOENIG
 821 WESLEY AVENUE                          719 N DUKE STREET, APT. 1
 OCEAN CITY, NJ 08226                       LANCASTER, PA 17602

 MITCHELL A. SOMMERS                        YUKO KIMURA KOENIG
 MITCHELL A. SOMMERS,                       A/K/A YUKO KIMURA A/K/A YUKO KOENIG
 ESQUIRE P.C.                               1551 SPRUCE ST
 107 WEST MAIN STREET                       NORFOLK, VA 23502
 EPHRATA, PA 17522

 UNITED STATES TRUSTEE
 833 CHESTNUT STREET, SUITE 500
 PHILADELPHIA, PA 19107
